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---------- Forwarded message ---------
From: M           CRU <          @cruhemp.com>
Date: Tue, Jan 24, 2023 at 1:24 PM
Subject: Fwd: Personal Financial Information
To: A        S        <      @thesaundersfirm.com>




D      M
President
       Case 1:22-cr-00361-TCB Document 27-3 Filed 01/26/23 Page 2 of 14


www.CruLounge.com
“Catch A Vibe”


691 John Wesley Dobbs
Atlanta GA 30312




Let’s talk business


Begin forwarded message:

       From: A        S     <       @cruhemp.com>
       Date: January 23, 2023 at 7:43:58 AM EST
       To: "D            M                     @cruhemp.com>
       Subject: Fwd: Personal Financial Information




       A         S
       Dirctor of Compliance
       Phone:
                      E:          @cruhemp.com
       W:https://crulounge.com/ 
                                          A:691
       John Wesley Dobbs Ave NE  Atlanta,GA 30312

       Schedule a 30 Minute Meeting with A       S
       calendly.com/



       Begin forwarded message:

              From: Brittany Hudson               @yahoo.com>
              Date: January 22, 2023 at 11:55:54 PM EST
              To: A        S     <      @cruhemp.com>
              Subject: Personal Financial Information

              Please find attached the documentation for both Kay and I.

              Thank you,

              Brittany
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